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                    IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF DELAWARE

 NIPPON SHINYAKU CO., LTD.,                    )
             Plaintiff,                        )
                                                   C.A. No. 21-1015 (JLH)
                                               )
 v.                                            )
                                                   DEMAND FOR JURY TRIAL
                                               )
 SAREPTA THERAPEUTICS, INC.,                   )
             Defendant.                        )

 SAREPTA THERAPEUTICS, INC. and THE            )
 UNIVERSITY OF WESTERN AUSTRALIA,              )
             Defendant/Counter-Plaintiffs,     )
                                               )
 v.                                            )
                                               )
 NIPPON SHINYAKU CO., LTD. and NS              )
 PHARMA, INC.,                                 )
               Plaintiff/Counter Defendants.   )

                    NOTICE OF WITHDRAWAL OF ATTORNEY

       PLEASE TAKE NOTICE that, pursuant to Local Civil Rule 83.7, Guylaine Haché of

Morgan, Lewis & Bockius LLP, hereby withdraws her appearance as counsel for

Plaintiff/Counterclaim Defendant Nippon Shinyaku Co., Ltd. and Counterclaim Defendant NS

Pharma, Inc.

                              [signature on following page]
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 June 24, 2024                                  Respectfully submitted,
                                                MORGAN, LEWIS & BOCKIUS LLP

                                                /s/Amy M. Dudash
 Amanda S. Williamson (admitted pro hac vice)   Amy M. Dudash (DE Bar No. 5741)
 Jason C. White (admitted pro hac vice)         1201 N. Market Street, Suite 2201
 Christopher J. Betti (admitted pro hac vice)   Wilmington, Delaware 19801
 Krista V. Venegas (admitted pro hac vice)      Telephone: 302.574.3000
 Wan-Shon Lo (admitted pro hac vice)            Fax: 302.574.3001
 Maria E. Doukas (admitted pro hac vice)        amy.dudash@morganlewis.com
 Zachary D. Miller (admitted pro hac vice)
 Michael T. Sikora (admitted pro hac vice)      Attorneys for Plaintiff/Counterclaim
 110 N. Wacker Drive, Suite 2800                Defendant Nippon Shinyaku Co., Ltd.
 Chicago, IL 60601                              and Counterclaim Defendant NS
 Telephone: 312.324.1000                        Pharma, Inc.
 Fax: 312.324.1001
 amanda.williamson@morganlewis.com
 jason.white@morganlewis.com
 christopher.betti@morganlewis.com
 krista.venegas@morganlewis.com
 shon.lo@morganlewis.com
 maria.doukas@morganlewis.com
 zachary.miller@morganlewis.com
 michael.sikora@morganlewis.com

 David L. Schrader (admitted pro hac vice)
 300 South Grand Avenue, 22nd Floor
 Los Angeles, CA 90071
 Telephone: 213.612.2500
 Fax: 213.612.2501
 david.schrader@morganlewis.com

 Alison P. Patitucci (admitted pro hac vice)
 2222 Market Street
 Philadelphia, PA 19103
 Telephone: 215.693.5000
 Fax: 215.963.5001
 alison.patitucci@morganlewis.com
